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                               Exhibit A
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     Welcome to the United States District Court for the Eastern District of New York. The
     Eastern District has 29 Article III Judges and 16 Magistrate Judges. The district comprises the
     counties of Kings, Nassau, Queens, Richmond, and Suffolk and concurrently with the
     Southern District, the waters within the counties of Bronx and New York. The Eastern District
     has a population of eight million people.




    ALL VISITORS TO THE COURT:
    Please follow this link for guidelines for entry to the Courthouses of the Eastern District of
    New York put into place by Administrative Order 2022-22.




 Notices

 NOTICE TO ALL PARTIES: Chief Judge Brodie has issued Administrative Order 2023-23 governing a pilot
 program for the direct assignment of cases magistrate judges. The pilot program goes into effect on

https://www.nyed.uscourts.gov                                                                                         1/5
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 September 25, 2023. Please see Administrative Order 2023-23 for the details of the pilot program.
 Brenna B. Mahoney, Clerk of Court, August 30, 2023.

 NYLJ New Case Assignment Program Unveiled in Eastern District of New York

 EDNY Announcement - Joseph A. Marutollo

 Pre-Lapse in Appropriations Notice to Contractors

 Please see the Oct. 16, 2023 Joint Notice to the Bar Inviting Public Comment to Proposed Changes to
 EDNY-SDNY Joint Local Rules

 Notice to the Bar Dated September 15, 2023 The deadline for new applications to the Eastern District
 of New York’s CJA Panel has been extended to October 6, 2023. Applications forms are available here:
 https://www.nyed.uscourts.gov/criminal-justice-act-info. See notice here:

 Notice: Under the Rules Enabling Act, 28 U.S.C. §§ 2071-75, the following amended and new rules
 and forms became effective on December 1, 2022.
 Federal Rules of Appellate Procedure: Rules 25 and 42
 Federal Rules of Bankruptcy Procedure: Rules 1007, 1020, 2009, 2012, 2015, 3002, 3010, 3011, 3014,
 3016, 3017.1, 3018, 3019, 5005, 5004, and 8023, new Rule 3017.2, and Official Forms 101, 309E1, and
 309E2
 Federal Rules of Civil Procedure: Rule 7.1 and new Supplemental Rules for Social Security Review Actions
 Under 42 U.S.C. § 405(g)
 Federal Rules of Criminal Procedure: Rule 16
 See https://www.uscourts.gov/rules-policies/current-rules-practice-procedure for the text of the
 amended rules and accompanying committee notes effective December 1, 2022.

 Notice to the Bar concerning requests for a reduction in sentence. See Administrative Order 2023-31

 Notice to the Bar regarding Fed. R. Civ. P. 7.1

 Notice to the public regarding fraudulent documents and advanced fee scams using the name of
 this Court and forged documents purported to be from its judges. Please see this page.




     Other Resources

                Court Weather or Emergency Operations Updates: (866) 752-7362
                Filing Emergency Applications After Business Hours
                Attorney Lounges
                Guide to Judiciary Policy Conflicts Screening Requirements
https://www.nyed.uscourts.gov                                                                                           2/5
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                Judicial Seminars Disclosure
                Judicial Conduct and Disability


                AO's Educational Resources
                AO’s Media information
                AO's Court Statistics
                FJC Educational programs and materials


                Federal Rules of Civil Procedure
                Federal Rules of Criminal Procedure
                Federal Rules of Evidence
                Judiciary Staff Travel Regulations
                United States Courts Rules and Policies
                Post Judgment Interest Rates


     Court Locations
     Brooklyn

     225 Cadman Plaza East
     Brooklyn, NY 11201

     Central Islip

     100 Federal Plaza
     Central Islip, NY 11722



    Local Rules and Admin.Orders

    Opinions

    Forms

    NextGen Information

    Online Payments for Criminal Debt

     Other Court Links

                EDNY Ops Twitter Feed (Operational Notices - Closing, Rules, etc)
                EDNY Case Twitter Feed (Complaints/Orders/Judgments/Rules)
                EDNY CM/ECF RSS Feed
                Facebook(link is external)


https://www.nyed.uscourts.gov                                                                                             3/5
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                CM/ECF Court Information


                Bankruptcy Court
                Probation
                Pretrial Services
                2nd Circuit Court of Appeals
                More Second Circuit Courts....
                NY1 Profile and Tour of the Eastern District of New York (video)
                Central Violations Bureau
                U.S. Attorneys Office
                Federal Defenders
                U.S. Marshals Service
                Federal Court Finder


     News & Announcements
     Fri, 2023-12-01
     New Fee Schedule 2023
     New Fee Schedule E More »

     Fri, 2023-09-15
     POWER Act Event
     The Eastern District of More »

     Fri, 2023-04-07
     What Lawyers Want in Mediation
     More »

     Tue, 2023-04-04
     Press Release and Public Notice dated April 4, 2023
     Press Release More »

     Thu, 2023-03-16
     Notice of Magistrate Judge Vacancy NDNY - Syracuse, NY
     N More »

     View all »




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     Legal Terms |




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     Eastern District Retrospective - 1990-2014 | NYED 1865-1990 Centennium

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     information requests; however, comments on or suggestions for this Web site are welcome.
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